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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :          Criminal No. 1:21-cr-00294-RC-1
                                              :
JEREMY J. VOROUS                              :
                                              :
                       Defendant.             :

                                 NOTICE OF WITHDRAWAL

       The United States of America, through undersigned counsel, hereby informs the Court that

Trial Attorney James Peterson, as counsel for the United States, is terminating his appearance as

counsel of record in this matter. All other government counsel noted on the docket at the time of

this filing will remain counsel for the United States.

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY
                                              DC BAR NO. 481052



                                       By:              /s/ James D. Peterson
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